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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

DEMOCRATIC EXECUTIVE
COMMITTEE OF FLORIDA and               Case No. 4:18-cv-00520-RH-MJF
BILL NELSON FOR U.S. SENATE,

 Plaintiffs,

v.

KENNETH DETZNER, in his official
capacity as the Florida Secretary of
State,

 Defendant.



INTERVENOR-DEFENDANT NATIONAL REPUBLICAN SENATORIAL
 COMMITTEE’S SUPPLEMENTAL MEMORANDUM IN OPPOSITION
        TO PLAINTIFFS’ EMERGENCY MOTION FOR
 TEMPORARY INJUNCTION, TEMPORARY RESTRAINING ORDER,
             AND PRELIMINARY INJUNCTION
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                                INTRODUCTION

      Plaintiffs—the Democratic Executive Committee of Florida and Bill Nelson

for U.S. Senate—have not followed the basic rules of the road necessary to obtain

the extraordinary relief they seek. They ask this federal court to issue an injunction

against state election officials across Florida on an “emergency” basis after Election

Day has come and gone—based on a supposed defect in Florida’s statutory scheme

that was the subject of extensive litigation brought by the Florida Democratic Party

in this Court two years ago. These same Plaintiffs brought the exact same challenge

in 2016 and obtained precisely the relief that they sought—the opportunity to cure

mismatched signatures.

      Now, after the 2018 election has occurred, they argue that the relief that they

themselves requested, or that was otherwise provided for in the statute—is

insufficient. If their own remedy was truly inadequate, as Plaintiffs now urge, the

issue could easily have been raised in the prior suit—or at any point over the past

two-plus years. But it was not. Since then, the Florida Legislature faithfully adopted

into statute this Court’s cure remedy for mismatched signatures on vote-by-mail

ballots, and all interested parties, including Intervenor-Defendant National

Republican Senatorial Committee (“NRSC”), relied on the amended statute as

establishing the legal framework for the 2018 election.




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        Voting in that election is over. Plaintiffs are just now raising the signature-

mismatch issue, having waited until three days after the election to do so on an

“emergency” basis in a transparent effort to upset the outcome of the race for the

United States Senate and other offices. And they rely on a study that has been

available to them since at least September 2018.

        These tactics are impermissible. “[T]he law imposes the duty” to bring such

claims forward “for pre-election adjudication.” Toney v. White, 488 F.2d 310, 314

(5th Cir. 1973) (en banc) (emphasis added). 1 A contrary rule would “permit, if not

encourage, parties who could raise a claim to lay by and gamble upon receiving a

favorable decision of the electorate and then, upon losing, seek to undo the ballot

results in a court action.” Id. (internal quotations omitted).

        Plaintiffs offer no explanation for their delay. This Court should deny a

preliminary injunction and decline to reach the merits of Plaintiffs’ claims at this

time.

        Plaintiffs’ constitutional arguments are unfounded in any event. As this Court

previously recognized, state “[e]lection laws almost always burden the right to vote,”

and “[s]ome of these regulations must be substantial to ensure that order rather than

chaos accompanies our democratic process.” Fla. Democratic Party v. Detzner, No.

 1
     Fifth Circuit cases decided before October 1, 1981, are binding precedent in the
     Eleventh Circuit. Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.
     1981) (en banc).

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4:16-cv-607-MW/CAS, 2016 WL 6090943, at *6 (N.D. Fla. Oct. 16, 2016) (citing

Burdick v. Takushi, 504 U.S. 428, 433 (1992)). Plaintiffs claim that the requirement

that mail-in and provisional ballots utilize signature verification, rather than the

photo identification asked of in-person voters, is a severe burden unsupported by

substantial government interests, even though, as this Court previously recognized,

it is black-letter law that a state has a compelling interest in voter identification. And

Plaintiffs entirely ignore that under Florida law, vote-by-mail voters now have the

statutory protection of notice and the opportunity to cure a mismatched signature—

the very reform that this Court determined would make the statute constitutional.

      Rather than seek purely prospective relief, Plaintiffs demand that this Court

enjoin application of the signature-match requirements in their entirety—statewide.

They also seek to force all 67 Florida counties to immediately halt or change the

machine recounts that have been ongoing for two days and are almost complete, and

to require them to consider ballots that were excluded based on a signature mismatch

after an opportunity to cure. Yet they cannot demonstrate irreparable harm since

they cannot identify a single voter who was unable to utilize the ability to cure.

Moreover, they ignore the strong public interests counseling against an injunction,

including the undeniable fact that an injunction at this point in time would throw the

canvassing process into chaos by changing the rules long after Election Day.




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       The Legislature amended the statute in accordance with this Court’s direction,

 and Florida voters, candidates, and election officials all relied on the statutory

 scheme as it existed leading up to and on Election Day. Plaintiffs stood on the

 sidelines until the election results did not go their way and then asserted an

 “emergency” claim that they could have presented years ago. Changing the law

 retroactively would be fundamentally unfair, especially when these constitutional

 issues could easily have been adjudicated years before the election, and the statutes

 amended accordingly if necessary.

       Plaintiffs’ motion for a preliminary injunction must be denied.

                                   ARGUMENT

I.     Plaintiffs Are Not Entitled To A Preliminary Injunction When They
       Waited Until After The Election To Bring Claims That Could Have Been
       Brought Long Before.

       “[I]n election law cases as elsewhere,” a party requesting preliminary

 injunctive relief “must generally show reasonable diligence.” Benisek v. Lamone,

 138 S. Ct. 1942, 1944 (2018). The doctrine of laches enforces this requirement,

 barring a claim when “(1) there was a delay in asserting a right or a claim, (2) the

 delay was not excusable, and (3) the delay caused [an opposing party] undue

 prejudice.” United States v. Barfield, 396 F.3d 1144, 1150 (11th Cir. 2005). Indeed,

 laches applies with particular force in election cases: “Interference with impending

 elections is extraordinary, and interference with an election after voting has begun



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is unprecedented.” Sw. Voter Registration Educ. Proj. v. Shelley, 344 F.3d 914, 919

(9th Cir. 2003) (internal citation omitted).

      Here, Plaintiffs waited until after the election to file suit even though the

signature-match requirement has been law for about twenty years. See Fla. Stat.

§ 101.68 (absentee ballot matching requirement since 1996); Fla. Stat. § 101.048

(provisional ballot matching requirement since 2001). The leading case on which

they base their equal protection claim—Bush v. Gore—was decided in 2000, and is

hardly new either.

      As a matter of well-established precedent, this delay forecloses a preliminary

injunction. “[T]he law imposes the duty” to bring election grievances forward “for

pre-election adjudication.” Toney, 488 F.2d at 314 (emphasis added). A contrary

rule would “permit, if not encourage, parties who could raise a claim to lay by and

gamble upon receiving a favorable decision of the electorate and then, upon losing,

seek to undo the ballot results in a court action.” Id. (internal quotations omitted);

see also Soules v. Kauaians for Nukolii Campaign Comm., 849 F.2d 1176, 1180 (9th

Cir. 1988) (collecting cases to show that courts do not generally forgive delays in

the election context “lest the granting of post-election relief encourage sandbagging

on the part of wily plaintiffs”).

      Plaintiffs have no legitimate justification for their delay. Strikingly, their

papers are completely silent on this point. Although the aspects of the signature-


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matching process that Plaintiffs complain of now were “highlighted” by this Court

more than two years ago, Plaintiffs never raised that objection to their chosen remedy

of notice and an opportunity to cure. To be sure, Plaintiffs discussed supposed

problems with signature-matching, but the solution they proposed for those

problems was the cure remedy—they never suggested those problems constituted an

independent constitutional violation. The Florida Legislature amended the statute

to conform to the Court’s directive; and the amended statutes were passed by the

Legislature and signed into law by Governor Scott and administered in the 2018

election. See Plaintiffs’ TRO Mem., ECF 4, at 8. Plaintiffs have known about the 5

p.m. cure deadline, in particular, since at least June 2017 when they notified this

Court of the amendment to Section 101.68 that allowed voters to cure mismatched

signatures and created that deadline. See Fla. Democratic Party v. Detzner, No. 16-

cv-607, ECF 57 (N.D. Fla. June 5, 2017) (informing the Court that a bill codifying

the Court’s 2016 order had been signed by Governor Scott).2


 2
     One particularly troubling aspect of Plaintiffs’ lawsuit is that in many places they
     have simply cut-and-pasted language from their papers in the 2016 litigation.
     Compare Fla. Democratic Party v. Detzner, No. 16-cv-607, ECF 4, at 18 (N.D.
     Fla. Oct. 3, 2016) (“In other words, the statutory scheme affords canvassing
     boards complete discretion over signature comparison with no statewide
     oversight or standards. . . . The statutory scheme accordingly ensures that the
     metrics used for comparing signatures will not and cannot be standardized across
     county canvassing boards. Nor can the Division of Elections ameliorate the
     problem by ensuring that the particular standard or scheme used by each
     canvassing board is sufficiently reliable—it lacks the statutory authority to do


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      The matching requirement “is not a new enactment,” and Plaintiffs were

“sufficiently familiar with the statute’s requirements and could have sued earlier.”

Fishman v. Schaffer, 429 U.S. 1325, 1330 (1976) (Marshall, J., in chambers)

(denying application for an injunction against state election officials). This is not “a

gray area where” the problem “even if known before the election, was discovered at

a late hour.” Toney, 488 F.2d at 314.

      Plaintiffs’ strategic timing prejudices the Secretary, election officials,

Intervenor-Defendants, and the public. As the Secretary has explained, Plaintiffs’

delay has prejudiced his office in its administration of election laws by creating

uncertainty in the application of those laws.        Plaintiffs have also prejudiced

Intervenor-Defendants and voting members of the public, who conducted

themselves in accordance with the existing regime and may now have the rug pulled

out from under them, facing the potential confusion of after-the-fact, retroactive

changes to longstanding election laws. See Fishman, 429 U.S. at 1330 (“[A]n

injunction at this time would have a chaotic and disruptive effect upon the electoral

process.”). And Florida’s 67 county supervisors of elections (non-parties to this

case), who are responsible for fulfilling their statutory obligations to ensure




   so.”), with Plaintiffs’ TRO Mem., ECF 4, at 17–18 (identical). This is smoking-
   gun evidence that they could have easily brought their present claims sooner, but
   chose not to.

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  transparency and legitimacy, have also been prejudiced by Plaintiffs’ unjustified

  delay in asserting their claims. See Defendant’s Mem., ECF 22, at 2.

        “Timing is everything.” United States v. Heard, No. 18-10479, 2018 WL

  4181736, at *3 (11th Cir. Aug. 30, 2018). Plaintiffs’ tactical decision to hold their

  lawsuit in reserve until after the initial returns showed them losing this election bars

  a preliminary injunction, if not this entire lawsuit.

II.     Plaintiffs Cannot Demonstrate A Likelihood Of Success On The Merits.

        A.     Plaintiffs Have Not Demonstrated Standing To Challenge The
               Exclusion Of Late-Arriving Vote-by-Mail Ballots Or Provisional
               Ballots.

        Standing to sue is a constitutional requirement and “a threshold matter

  required for a claim to be considered by the federal courts,” and “[a]t the heart of

  Article III standing is the existence of an injury.” Via Mat Int’l S. Am. Ltd. v. United

  States, 446 F.3d 1258, 1262 (11th Cir. 2006). “To establish injury in fact, a plaintiff

  must show that he or she suffered ‘an invasion of a legally protected interest’ that is

  ‘concrete and particularized’ and ‘actual or imminent, not conjectural or

  hypothetical.’” Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1548 (2016) (quoting Lujan

  v. Defenders of Wildlife, 504 U.S. 555, 560 (1992)). “Where, as here, a case is at

  the pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’” injury.

  Id. at 1547 (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)).




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      Plaintiffs have failed to allege facts sufficient to show that they have suffered

an injury-in-fact in all the situations for which they request relief. This Court

previously held that “Plaintiffs need not identify specific voters that are registered

as Democrats that will have her vote-by-mail ballot rejected due to apparent

mismatched signatures; it is sufficient that some inevitably will.” Detzner, 2016 WL

6090943, at *4. In that case, no ballots had yet been cast, whereas here all votes

have already been submitted. In these circumstances, Plaintiffs should be expected

to show actual, not presumed, injury since the relevant events have occurred. But

even assuming that it was inevitable that some Democratic voter might have his or

her ballot rejected for a mismatched signature, it is not even remotely inevitable that

such a person was denied the opportunity to cure—and Plaintiffs have not alleged

that any person was in fact denied that opportunity. Indeed, Plaintiffs have not

alleged that any individual who wanted to cure a signature mismatch in her ballot

has been unable to do so, and that such a person would have voted for Senator

Nelson. These failings are fatal.

      B.     There Is No Constitutional Violation.

      Even if the Court reaches the merits at this time, which it need not and should

not for the reasons explained above, Plaintiffs are unlikely to prevail on their

argument that Florida’s signature-match requirement violates the Constitution.




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      “[N]o right is more precious in a free country than the right to vote.” Wesberry

v. Sanders, 376 U.S. 1, 17 (1964). Still, “states retain the power to regulate their

own elections” and “[e]lection laws almost always burden the right to vote.”

Detzner, 2016 WL 6090943, at *6 (citing Burdick v. Takushi, 504 U.S. 428, 433

(1992)). “Some of these regulations must be substantial to ensure that order rather

than chaos accompanies our democratic process.” Id.

      Florida’s signature-match requirement is precisely the sort of “reasonable,

politically neutral regulation[]” that the Supreme Court has “repeatedly upheld.”

Burdick, 504 U.S. at 438; see also Crawford v. Marion Cty. Election Bd., 553 U.S.

181, 197 (2008) (“States employ different methods of identifying eligible voters at

the polls. . . . [S]ome require voters to sign their names so their signatures can be

compared with those on file.”).

             1.    The Signature-Match Requirement Imposes Minimal
                   Burdens To Further The State’s Compelling Interests.

      It is undisputed that Florida has a “compelling interest in preserving the

integrity of its election process.” Purcell v. Gonzalez, 549 U.S. 1, 4 (2006) (quoting

Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 231 (1989)). And

“[t]here is no question about the legitimacy or importance of the State’s interest in

counting only the votes of eligible voters.” Crawford, 553 U.S. at 196. Indeed, as

this Court has previously recognized, “preventing voter fraud is a compelling

interest.” Detzner, 2016 WL 6090943, at *7. Likewise, Florida has the “closely

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related” but distinct “interest in protecting public confidence ‘in the integrity and

legitimacy of representative government.’” Crawford, 553 U.S. at 197 (internal

quotation marks and citation omitted). “[P]ublic confidence in the integrity of the

electoral process” is significant “because it encourages citizen participation in the

democratic process.” Id.

        These concerns apply with particular force here because “voting by mail

makes vote fraud much easier to commit.” Nader v. Keith, 385 F.3d 729, 734 (7th

Cir. 2004).3 “[A]bsentee voting is to voting in person as a take-home exam is to a

proctored one.” Griffin v. Roupas, 385 F.3d 1128, 1131 (7th Cir. 2004). Florida,

regrettably, has had “a rich history of absentee-ballot fraud, including at least two

elections in which courts invalidated every single absentee ballot because of

widespread fraud.” Fla. State Conference of NAACP v. Browning, 569 F. Supp. 2d


 3
     See, e.g., Marks v. Stinson, 19 F.3d 873 (3d Cir. 1994) (addressing absentee voter
     fraud in state senatorial election); Keeley v. Ayala, 179 A.3d 1249 (Conn. 2018)
     (new primary election was required where the number of invalidated absentee
     ballots was greater than winner’s margin of victory); Gooch v. Hendrix, 5 Cal.
     4th 266 (Cal. 1993) (finding sufficient circumstantial evidence of absentee ballot
     fraud affecting election outcome); Pabey v. Pastrick, 816 N.E.2d 1138 (Ind.
     2004) (absentee ballot fraud “substantially undermin[ed] the reliability of the
     election and the trustworthiness of its outcome”); McCranie v. Mullis, 478 S.E.2d
     377 (Ga. 1996) (new election ordered when there was sufficient number of
     invalid absentee to cast doubt on the election results); Rogers v. Holder, 636 So.
     2d 645 (Miss. 1994) (fraudulent absentee ballots made it impossible to discern
     the will of the voters); Hileman v. McGinness, 739 N.E.2d 81 (Ill. App. Ct. 5th
     Dist. 2000) (remanding for factual findings to determine absentee ballot fraud);
     Valence v. Rosiere, 675 So. 2d 1138 (La. App. 1996) (holding that allegations of
     absentee voter fraud were sufficient to require a trial on the merits).

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1237, 1251 (citing In re Protest of Election Returns & Absentee Ballots in the Nov,

4, 1997 Election for Miami, 707 So. 2d 1170 (Fla. 3d DCA 1998); Bolden v. Potter,

452 So. 2d 564 (Fla. 1984)).

      The burdens imposed by Florida’s signature-match requirement are minimal

and reasonably related to this compelling governmental interest. The only burden

the statute imposes on a vote-by-mail (“VBM”) voter is that the signature on the

voter’s ballot matches the signature on file for that voter and, if there is a mismatch,

the voter still may cure any inconsistency by 5:00 p.m. the day before the election.

See Fla. Stat. § 101.68(4). This is not an undue burden.

      In Florida State Conference of NAACP v. Browning, this Court upheld a

similar requirement that voter-registration applicants provide proof of their identity

on their applications, where the statute required applicants with errors on their

applications to respond to a notice and cure the defect either by mail, email, fax, or

in person. 569 F. Supp. 2d at 1240–41, 1256–57. Those burdens—“to drive to an

elections office or send a piece of mail”—“are not constitutionally cognizable

impediments to the right to vote.” Id. at 1253.

      By any measure, the burden imposed by Florida’s signature-match

requirement is no greater than the burden imposed by the voter-ID requirement the

Supreme Court upheld in Crawford. There, the Court held that “the inconvenience

of making a trip to the [bureau of motor vehicles], gathering the required documents,


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and posing for a photograph, surely does not qualify as a substantial burden on the

right to vote, or even represent a significant increase over the usual burdens of

voting.” 553 U.S. at 198. Signing the back of a security envelope when voting by

mail, as a preferred alternative to in-person voting, is no more inconvenient. Cf.

McDonald v. Bd. Of Election Comm’rs of Chi., 394 U.S. 802, 807–08 (inability to

vote absentee is no constitutional burden where in-person voting is option).

      In Plaintiffs’ view, every election regulation would be unconstitutional

because the result of noncompliance is an uncounted vote. But even the most

minimal “procedural step filters out some potential voters. No one calls this effect

disfranchisement, even though states could [always] make things easier by, say,

allowing everyone to register or vote from a computer or smartphone without travel

or standing in line.” Frank v. Walker, 768 F.3d 744, 749 (7th Cir. 2014).

      Moreover, Plaintiffs “fail[] to identify a single individual who would be

unable   to   vote”    because    of   Florida’s    signature-match    requirement.

CommonCause/Georgia v. Billups, 554 F.3d 1340, 1354 (11th Cir. 2009). “[T]he

inability to locate a single voter who would bear a significant burden provides

significant support for a conclusion that” Florida’s requirements do not impose an

undue burden. Id. (internal quotation marks omitted).

      To be sure, in 2016 this Court held that Florida’s previous signature-match

requirement imposed an impermissible burden on voters because the previous


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statutory scheme lacked provisions providing notice and an opportunity to cure.

Detzner, 2016 WL 6090943, at *7. But the Court designed and ordered relief to

address that finding, at Plaintiffs’ request, and Florida duly complied with the

Court’s mandate that election officials “allow mismatched-signature ballots to be

cured in precisely the same fashion as currently provided for non-signature ballots.”

Id., at *9.      Plaintiffs do not claim that Defendants failed to abide by that

requirement. 4

              2.     Plaintiffs’ Challenge To The Standard For Assessing
                     Signature Matches Lacks Merit.

        Relying on Bush v. Gore, 531 U.S. 98 (2000), Plaintiffs argue that the statute

remains unconstitutional because “there are no uniform standards that election

officials follow, nor is there any known state-wide training, for signature-matching

processes.” Plaintiffs’ Br. 7. 5 In Bush v. Gore, the Supreme Court made clear that


 4
     NRSC respectfully preserves the argument that the Constitution does not require
     notice and an opportunity to cure in order for a signature-match requirement to
     be valid. See Protect Marriage Ill. v. Orr, 463 F.3d 604, 608 (7th Cir. 2006)
     (invalidating signatures without an individual opportunity to challenge signature
     invalidation does not violate Constitution because the “costs of allowing tens of
     thousands of people to demand a hearing on the validity of their signatures would
     be disproportionate to the benefits”); but see Martin v. Kemp, No. 1:18-CV-4776-
     LMM, 2018 WL 5276242, at *11 (N.D. Ga. Oct. 24, 2018) (enjoining Georgia
     signature-match requirement that did not provide notice or opportunity to cure).
 5
     Plaintiffs at times suggest that Bush v. Gore imposes a heightened Equal
     Protection standard, see Plaintiffs’ Br. 7–8, 10, but that is wrong. The standard
     that governs here is Anderson-Burdick, as Plaintiffs elsewhere concede. See id.
     at 11. Plaintiffs’ Bush v. Gore argument in this case is also fundamentally


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its holding was “limited to the present circumstances, for the problem of equal

protection in election processes generally presents many complexities.” 531 U.S. at

109. The Court did not question the well-settled rule that “local entities, in the

exercise of their expertise, may develop different systems for implementing

elections.”   Id. See also Short v. Brown, 893 F.3d 671, 679 (9th Cir. 2018)

(“[F]ederalism permits states to serve as laboratories for experimentation.” (internal

quotations omitted)).

      Moreover, Plaintiffs’ argument again ignores the relief this Court provided in

2016. All elections officials must now notify VBM voters of a signature mismatch

and provide the voter an opportunity to cure the defect by submitting a cure affidavit.

Those new protections provide the substantial statewide uniformity that was

previously found to be lacking. See Lemons v. Bradbury, 538 F.3d 1098, 1105–06

(9th Cir. 2008) (requirement that county elections officials verify signatures satisfied

Bush v. Gore because “it uniformly requires all counties to compare two existing

signature specimens when determining the validity of each sampled signature on a

referendum petition”).




   inconsistent with the substantive arguments Plaintiffs’ counsel is making in
   opposition to preliminary relief in an ongoing election dispute in Arizona. See
   Response in Opposition to Plaintiffs’ Request for a Temporary Restraining Order
   at 2, Maricopa County Republican Party v. Michele Reagan, No. CV2018-
   013963, (Ariz. Super. Ct. Nov. 8, 2018).

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      Plaintiffs assert that some counties use different methods to notify VBM

voters of a signature mismatch. Plaintiffs’ Br. 9–10. That argument fails, too. The

Equal Protection Clause does not require all counties to use exactly the same

procedures to provide notice of a signature mismatch. Wexler v. Anderson, 452 F.3d

1226, 1233 (11th Cir. 2006); cf. Short, 893 F.3d at 679 (denying preliminary

injunction to California mail-in ballot law that initially applied only to certain

counties). Indeed, doing so is almost certainly infeasible for counties that differ

greatly in size, population, demographics, and many other ways.          Plaintiffs’

mistaken understanding of the extent of uniformity that equal protection requires

would lead to absurd results. For example, Plaintiffs point out that one county

provides notice of mismatches by locating the prospective voters on Facebook and

contacting them through the social network. Id. In Plaintiffs’ view, either that one

county must immediately halt that creative and low-cost method of tracking down

difficult-to-find voters—or else all counties throughout Florida must begin tracking

voters down through Facebook when other approaches might be more effective for

those counties.    Surely this is not the “uniformity” that equal protection

contemplates.

      The critical point is that all counties—without exception and across Florida—

must compare a voter’s signature with the signature on file, notify VBM voters of a

signature mismatch, and provide them with an opportunity to submit a cure affidavit.


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Fla. Stat. § 101.68(4). That is more than enough uniformity to pass constitutional

muster under Bush v. Gore. See Lemons, 538 F.3d at 1105; Short, 893 F.3d at 679.

              3.     There Is No Constitutional Violation As To The Few Ballots
                     That Arrive On Election Day.

        Nor can Plaintiffs argue that Florida law imposes an undue burden on the very

small subset of VBM ballots with mismatched signatures that are received after the

deadline to cure—5:00 p.m. on the day before the election. As a threshold matter,

Plaintiffs did not raise this issue in their Complaint and allege no facts showing they

have standing to seek relief on behalf of this category of Florida voters.

        In any event, the deadline to cure does not create an undue burden for this tiny

subset of Florida residents. It is beyond dispute that Florida law gives every person

who sends in a VBM ballot ample opportunity to cast a valid ballot under Florida

law. The requirements to vote by mail are straightforward and easily accessible to

all Florida voters. Clear and concise instructions for how to request and cast a valid

VBM ballot are available on Florida’s Department of State website. 6 And Florida

provides multiple ways for a registrant to receive and return a VBM ballot. Fla. Stat.

§ 101.62(4)(c)(1)–(5); id. § 101.6103(2). People who elect to use VBM ballots are

also on notice that: (1) they must sign their ballots; (2) their signature must match

the one in their voter-registration file; and (3) they have the opportunity to submit a


 6
     “Vote-by-Mail,” Florida Department of State, Division of Elections, available at
     https://dos.myflorida.com/elections/for-voters/voting/vote-by-mail/.

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cure affidavit if their signature does not match until 5:00 p.m. the day before the

election. Fla. Stat. § 101.6103(3) (“The return mailing envelope shall contain a

statement in substantially the following form: . . . I understand that failure to sign

this certificate and give my residence address will invalidate my ballot”); Vote-by-

Mail, Fla. Dept. of State, Div. of Elections, https://dos.myflorida.com/elections/for-

voters/voting/vote-by-mail/ (instructing voters how to cure). Florida also provides

all voters who have requested a VBM ballot an online system to track the status of

his or her ballot, a link to which is provided on the Department of State website.7

Voters can verify or update the signature on their voter-registration records before

sending in their ballot up until fifteen days before the election. They can also

preemptively submit a cure affidavit by mail, fax, or email in case their signature on

the ballot is rejected as a mismatch on Election Day. See Fla. Stat. § 101.68.

Moreover, people who request a VBM ballot also have the opportunity to change

their mind and vote in person. Id. § 101.69(2).

        For all these reasons, the deadline to cure a mismatched signature cannot

create an undue burden on the very small number of people whose signature does

not match their registration records and who fail to return their timely received VBM

ballots in time to be cured within the statutory cure period.



 7
     Vote-by-Mail,     Fla.   Department      of    State,   Div.   of    Elections,
     https://dos.myflorida.com/elections/for-voters/voting/vote-by-mail/.

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      Regardless, the 5:00 p.m. deadline to cure the day before the election advances

important state interests. States have a strong interest in “orderly administration” of

elections. Crawford, 553 U.S. at 196. Election Day and its aftermath are incredibly

busy and sometimes frenetic as election officials verify, count, and certify the

number of votes cast. Just as states are justified in setting poll closing times and

“reasonable cutoff point[s] for registration,” Rosario v. Rockefeller, 410 U.S. 752,

760 (1973), they need not extend a cure period indefinitely.

      It would be impossible for election officials to fulfill their statutory duties

without the imposition of reasonable voting-related deadlines. See Timmons v. Twin

Cities Area New Party, 520 U.S. 351, 358 (1997) (“[I]t is also clear that States may,

and inevitably must, enact reasonable regulations of parties, elections, and ballots to

reduce election- and campaign-related disorder.”); U.S. Term Limits, Inc. v.

Thornton, 514 U.S. 779, 834 (1995) (discussing “States’ interest in having orderly,

fair, and honest elections ‘rather than chaos.’”) (quoting Storer v. Brown, 415 U.S.

724, 730 (1995)). Under Florida law, election officials must upload “results of all

early voting and vote-by-mail ballots that have been canvassed and tabulated” by 7

p.m. prior to Election Day, Fla. Stat. § 102.141(4)(a), and the canvassing board must

report “all early voting and all tabulated vote-by-mail results” to the Department of

State 30 minutes after the polls close, and update precinct election results “at least

every 45 minutes until all results are completely reported,” id. § 102.141(4)(b). In


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the midst of these responsibilities, election officials should not also be required to

contact voters whose signatures did not match, and who were so notified—but who

nonetheless failed to submit their vote-by-mail ballot in advance of the cure

deadline.

      “When evaluating a neutral, nondiscriminatory regulation of voting

procedure, [courts] must keep in mind that a ruling of unconstitutionality frustrates

the intent of the elected representatives of the people.” Crawford, 553 U.S. at 203

(internal quotations and alteration omitted). There is no ground here for invalidating

the challenged statute—particularly after it had been amended in accordance with

this Court’s direction, and two elections have been conducted in reliance on that

amendment.

             4.     There Are No Constitutional Flaws in the Signature Match
                    Requirement As Applied To Provisional Ballots.

      Plaintiffs also challenge the signature-match requirement applicable to

provisional ballots. See Fla. Stat. § 101.048(2). But Plaintiffs have been unable to

identify a single voter who cast a provisional ballot that was rejected because of a

mismatch between signatures, much less one who was not given an opportunity to

cure a mismatched signature. See supra 9, 13. Notably, a provisional voter has “the

right to present written evidence supporting his or her eligibility to vote . . . by not

later than 5 p.m. on the second day following the election.” Fla. Stat. § 101.048(1).

Without any evidence that the signature-match requirement has actually hampered

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the voting rights of provisional voters, any burden is slight, if it exists at all. See

Common Cause/Georgia v. Billups, 554 F.3d 1340, 1354 (11th Cir. 2009) (finding

“insignificant burden” in challenge to voter ID law where Plaintiffs were “unable to

direct this Court to any admissible and reliable evidence that quantifies the extent

and scope of the burden imposed by the Georgia statute”).

        Requiring the signatures of absentee and provisional voters to match the

signatures on their voter registration applications is reasonably related to Florida’s

important governmental interests in an orderly election. See Wexler, 452 F.3d at

1232. Unlike regular in-person voting, neither absentee nor provisional ballots are

generally subject to a photo ID requirement. Compare Fla. Stat. § 101.043(1)

(requiring photo ID for in-person voters) with id. § 101.048(2) (requiring voters

without such identification to cast a provisional ballot), and id. §§ 97.0535,

101.6923(6) (requiring only certain, first time Florida voters who registered by mail

without submitting photo ID and have never been issued Florida identification to

include copy of photo ID with mail-in ballot). For these voters, the signature-match

requirement is an alternative form of identification. 8


 8
     Other states, including all three states that conduct elections entirely by mail,
     have similar signature-match requirements. E.g., Colo. Rev. Stat. § 1-7.5-107.3
     (requiring election judges to “compare the signature on the self-affirmation on
     each return envelope with the signature of the eligible elector stored in the
     statewide registration system”); Or. Rev. Stat. § 254.470(9) (same); Cal. Elec.
     Code § 3019(a)(A)(1); Ariz. Rev. Stat. § 16-550(A); Utah Code Ann. § 20A-3-


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          In the context of such a “reasonable” restriction on the rights of voters, “the

   State’s important regulatory interests are . . . sufficient.” Burdick, 504 U.S. at 434.

                   5. Section 101.68(2)(c)4 Is Not Properly Before The Court.

           The Court’s scheduling order directed the parties to be prepared to discuss

   whether the ballot-challenge procedures in Fla. Stat. § 101.68(2)(c)4 violate the First

   or Fourteenth Amendments. Order (Dkt. 26) at 3. No party in this litigation has

   challenged § 101.68(2)(c)4. Thus, this issue is not properly before the Court and

   any ruling on it would violate Article III of the United States Constitution.

III.      Plaintiffs Cannot Demonstrate Irreparable Injury.

          Plaintiffs cannot show that they likely will be imminently and irreparably

   injured in the absence of a preliminary injunction. See Winter v. Nat’l Res. Def.

   Council, 555 U.S. 7, 22 (2008); Wreal, LLC v. Amazon.com, Inc., 840 F.3d 1244,

   1247–48 (11th Cir. 2016). “A showing of irreparable injury is the sine qua non of

   injunctive relief.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc)

   (internal quotation marks omitted). Thus, “even if Plaintiffs establish a likelihood

   of success on the merits, the absence of a substantial likelihood of irreparable injury




       308(1)(b)(ii) (similar); Haw. Rev. Stat. § 15-9(c) (same); Ind. Code § 3-11-10-
       15(3) (same); Mich. Comp. Laws § 168.766 (similar); Iowa Code § 53.18(3)
       (same); N.D. Cent. Code § 16.1-07-12 (similar); Tex. Elec. Code § 87.041(b)(2)
       (same); Wash. Rev. Code § 29A.40.110 (similar).

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would, standing alone, make preliminary injunctive relief improper.” Id. (emphasis

added).

      Plaintiffs argue that they will suffer irreparable injury unless this Court

enjoins Florida election officials from following Florida law and rejecting ballots

that contain signature mismatches. Complaint (Dkt. 1) at 18. Not so. As detailed

above, Plaintiffs knew about the alleged constitutional violation for years, yet did

nothing about it. The law is clear “that a party’s failure to act with speed or urgency

in moving for a preliminary injunction necessarily undermines a finding of

irreparable harm.” Wreal, 840 F.3d at 1248; see also Fulani v. Hogsett, 917 F.2d

1028, 1031 (7th Cir. 1990) (Plaintiffs claim of “ a serious injury become less

credible by their having slept on their rights.”).      Plaintiffs have provided no

explanation for not challenging the signature-match requirement (or related process)

sooner.

      Furthermore, Plaintiffs have other adequate remedies, negating their

allegation of irreparable injury. Alabama v. U.S. Army Corps of Engineers, 424 F.3d

1117, 1127 (11th Cir. 2005) (“However, because [an injunction] is an extraordinary

remedy, it is available not simply when the legal right asserted has been infringed,

but only when that legal right has been infringed by an injury for which there is no

adequate legal remedy and which will result in irreparable injury if the injunction

does not issue.”). Florida law provides a process by which “any elector qualified to


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  vote in the election” may contest the certification of election results. Fla. Stat.

  § 102.168(1). It specifically provides a mechanism to contest an election on the

  basis of “[r]eceipt of a number of illegal votes or rejection of a number of legal votes

  sufficient to change or place in doubt the result of the election.” Id. § 102.168(3)(c).

  Rather than enjoin the operation of a facially neutral state law supported by

  legitimate state interests, this Court should recognize that Plaintiffs may challenge

  the rejection of the ballots at issue here through the statutorily directed procedure set

  forth in Fla. Stat. § 102.168.

IV.     The Balance Of The Equities And The Public Interest Favor Denial Of
        The Motion.

        The public interest and balance of harms militate strongly against the post-

  Election Day, statewide injunctive relief sought by the Plaintiffs because of the

  hugely disruptive consequences such an order would carry. Even when faced with

  a request to enjoin election procedures “weeks before” an election, a court must

  “weigh, in addition to the harms attendant upon issuance or nonissuance of an

  injunction, considerations specific to elections cases.” Purcell, 549 U.S. at 4. For

  example, “[c]ourt orders affecting elections . . . can themselves result in voter

  confusion.” Id. Even “seemingly innocent alterations in election rules” can result

  in “danger[ous] unanticipated consequences.” Griffin, 385 F.3d at 1132.

        For these reasons, courts overwhelmingly seek to avoid interfering with

  voting laws even in the weeks leading up to an election. See, e.g., Williams v.

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Rhodes, 393 U.S. 23, 34 (1968) (declining to order the printing of new ballots at a

“late date” even where the existing ballots were held to have unconstitutionally

excluded a certain candidate); Ariz. Sec’y of State’s Office v. Feldman, 137 S. Ct.

446 (2016) (immediately staying circuit court’s injunction of Arizona voting laws

issued four days before election); North Carolina v. League of Women Voters of

N.C., 135 S. Ct. 6 (2014) (granting stay to prevent interference with election

procedures roughly one month before election); Lair v. Bullock, 697 F.3d 1200, 1214

(9th Cir. 2012) (staying a district court’s injunction “given the imminent nature of

the election”); Veasey v. Perry, 769 F.3d 890, 895 (5th Cir. 2014) (staying an

injunction “in light of the importance of maintaining the status quo on the eve of an

election”); Colon–Marrero v. Conty–Perez, 703 F.3d 134, 139 n.9 (1st Cir. 2012)

(noting that “even where plaintiff has demonstrated a likelihood of success, issuing

an injunction on the eve of an election is an extraordinary remedy with risks of its

own”); Serv. Emps. Int’l Union Local 1 v. Husted, 698 F.3d 341, 345 (6th Cir. 2012)

(“As a general rule, last-minute injunctions changing election procedures are

strongly disfavored.”); Ne. Ohio Coal. for the Homeless v. Blackwell, 467 F.3d 999,

1012 (6th Cir. 2006) (vacating in part a temporary restraining order that “creates

disorder in electoral processes”). Changing the law shortly before an election is bad

enough; changing the law after the election is even worse.




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           Relatedly, the “balance of equities and the public interest tilt[] against”

 Plaintiffs because they “could have sought [preliminary relief] much earlier.”

 Benisek, 138 S. Ct. at 1944. As discussed above, there is no reason this lawsuit could

 not have been filed months (or even years) in advance of the present election cycle.

 If Plaintiffs believed that Florida’s failure to adopt the signature-matching protocol

 they desired was a constitutional violation, they had every opportunity to bring their

 claims long ago, rather than wait until after Election Day and approximately 24 hours

 before the initial certification deadline. The Court should not reward their calculated

 decision to “seek to undo the ballot results in a court action” when things did not go

 their way on Election Day. Toney, 488 F.2d at 314.

V.         Plaintiffs’ Requested Relief Is Unwarranted.

           Assuming, arguendo, that Plaintiffs could find a way around the numerous

 cases barring last-minute (much less post-Election Day) relief in the election context,

 establish a constitutional violation, show irreparable injury, and demonstrate that the

  public interest and balance of equities tip in their favor, they are not entitled to the

  particular remedy they seek.

           Plaintiffs have asked this Court to declare, after the election has been held,

  that all ballots with signature mismatches must “be counted as valid votes”—

     whether or not the ballot can be verified as meeting all legal requirements—and to

     enjoin rejection of all such ballots. Complaint (Dkt. 1) at 19. That extreme request



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is far more than necessary to remedy their alleged injuries, and makes plain that

Plaintiffs’ true goal is not to establish a uniform process for signature-matching to

be used to verify the legitimacy of the ballots, but to get the ballots included

regardless of their legitimacy. Yet, the State, and the people of the State, have a

strong interest in seeing that only legally valid votes are counted. There is a

significant history of cases where courts have considered absentee ballot fraud,

including here in Florida. See supra 11-12. Indeed, only prospective relief could

possibly be warranted. At this stage—after millions of votes have been cast, and a

statewide recount is underway—implementing any remedy for this election would

raise massive practical difficulties, undermine reasonable reliance interests, interfere

with state deadlines for certification of the election, disrupt post-election procedures

under the State’s election code, and erode public confidence in the integrity and

security of the electoral process. Recognizing these concerns, “[t]he Supreme Court

has repeatedly expressed its disapproval of such disruptions,” Perry v. Judd, 471 F.

App’x 219, 227 (4th Cir. 2012), even where the statute at issue is found to be

unconstitutional, Williams v. Rhodes, 393 U.S. 23, 34–35 (1968). Granting relief

during the pendency of this post-election recount would impermissibly disrupt

Florida’s ascertainment of results.

      It would be impossible to research, develop, adopt, and implement a uniform

signature-matching protocol throughout the State of Florida in the remaining few


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days before all recounts are concluded. Imposing new standards or reopening the

cure period would overwhelm state officials who are already racing to comply with

statutory deadlines. Standards would have to be decided upon and promulgated, and

training presumably would have to be conducted to implement the new standards,

particularly if signature-recognition software is required. And even if standards

could be promulgated and staff trained in time, there simply is not enough manpower

to implement a new set of rules when election officials are busy conducting multiple

machine and manual recounts. Reopening the cure period would require review by

the canvassing board, yet the board is required to have at least two of three members

present for the machine and manual recounts. Staff are also needed to assist with

the recounts. Changing the rules retroactively at this stage, as Plaintiffs demand,

would undermine public confidence and throw the electoral process into a state of

chaos.9

                                    CONCLUSION

        The Court should decline to issue a preliminary injunction.




 9
     If the Court grants a preliminary injunction, Intervenor-Defendant respectfully
     requests that the Court stay its order pending appeal, or deny a stay pending
     appeal in the order itself, as it did in Florida Democratic Party in 2016. See 2016
     WL 6090943, at *8.

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Dated: November 12, 2018
                                       Respectfully submitted,

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                 LOCAL RULE 7.1(F) CERTIFICATION


  The undersigned certifies that the attached memorandum of law contains 6,872

words.


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                           CERTIFICATE OF SERVICE
      The undersigned certifies that a true and correct copy of the foregoing was

served to all counsel of record through the Court’s CM/ECF system on this 12th day

of November, 2018.


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